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                                                                                          12    NJOY, INC. and SOTERRA, INC.
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                                                                                          13                          UNITED STATES DISTRICT COURT
                                                                                          14                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                          15                                  WESTERN DIVISION
                                                                                          16
                                                                                          17   IN RE                                     Case No. CV 14-00428-JFW (JEMx)
                                                                                                                                         consolidated with SACV 14-00427-
                                                                                          18   NJOY, INC. CONSUMER CLASS                 MMM (RZx)
                                                                                               ACTION LITIGATION
                                                                                          19                                             HONORABLE JOHN F. WALTER
                                                                                          20                                             NJOY’S RESPONSE TO
                                                                                                                                         PLAINTIFFS’ OBJECTION TO THE
                                                                                          21                                             DECLARATION OF DENISE
                                                                                                                                         MARTIN
                                                                                          22
                                                                                                                                         Date: February 1, 2016
                                                                                          23                                             Time: 10:00 a.m.
                                                                                                                                         Place:Courtroom 16
                                                                                          24
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                                                                                                    NJOY’S RESPONSE TO PLAINTIFFS’ OBJECTION TO THE DECLARATION OF DENISE MARTIN
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                                                                                          13          THE DESIGN OR IMPLEMENTATION OF CONJOINT
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                                                                                           1   1.         INTRODUCTION
                                                                                           2              NJOY has proffered Dr. Denise Martin as a rebuttal expert to independently
                                                                                           3   analyze and evaluate the Bayesian hedonic regression proposed by Plaintiffs’ expert
                                                                                           4   witness, Dr. Jeffrey Harris. Plaintiffs’ “Objection” to the Declaration of Denise
                                                                                           5   Martin fails in several respects. First, Plaintiffs’ objection is really a motion to
                                                                                           6   strike, and Plaintiffs failed to comply with Local Rule 7-3, among others. Second,
                                                                                           7   despite Plaintiffs’ misleading attempt to distort Dr. Martin’s qualifications, a review
                                                                                           8   of Dr. Martin’s education, training, and experience over the past 25 years
                                                                                           9   demonstrates that she is vastly qualified to opine on Dr. Harris’s proposed Bayesian
                                                                                          10   hedonic regression. For this reason alone, the bulk of Plaintiffs’ objection fails.
                                                                                          11   Third, Plaintiffs fail to show that any portion of Dr. Martin’s opinions, assumptions,
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                                                                                          12   or recitations of generally accepted principles are incorrect in any manner. Fourth,
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                                                                                          13   Plaintiffs’ objection mischaracterizes Dr. Martin’s reliance on the opinions of Dr.
                                                                                          14   Van Liere, and the applicable standards relating to one expert’s reliance on another
                                                                                          15   expert for assumptions. Most glaringly, Plaintiffs ignore Dr. Martin’s opinion that
                                                                                          16   Dr. Harris’s proposed Bayesian hedonic regression cannot properly estimate
                                                                                          17   damages in this case, independent of Dr. Van Liere’s testimony. Lastly, Plaintiffs
                                                                                          18   impermissibly attempt to shift the burden for rebuttal experts.
                                                                                          19   2.         PLAINTIFFS’ OBJECTION/MOTION TO STRIKE SHOULD BE
                                                                                          20              OVERRULED/STRICKEN BECAUSE PLAINTIFFS FAILED TO
                                                                                          21              COMPLY WITH LOCAL RULE 7-3
                                                                                          22              Local Rule 7-3 requires that “counsel contemplating the filing of any motion
                                                                                          23   shall first contact opposing counsel to discuss thoroughly, preferably in person, the
                                                                                          24   substance of the contemplated motion and any potential resolution.” “The purpose
                                                                                          25   of Local Rule 7-3 is to eliminate, or narrow the scope of, the motion and avoid
                                                                                          26   unnecessary expense of the Court’s time and resources.” Attalla v. Equinox
                                                                                          27   Holdings, Inc., 2015 U.S. Dist. LEXIS 70018, at *2 (C.D. Cal. May 29, 2015)
                                                                                          28   (citing Christian v. Mattel, Inc., 286 F.3d 1118, 1129 (9th Cir. 2002)). “A district
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                                                                                           1   court has the discretion to strike a motion that fails to comply with the local rules.”
                                                                                           2   Id.
                                                                                           3              There can be no dispute that Plaintiffs failed to meet and confer with NJOY’s
                                                                                           4   counsel before filing their objection/motion to strike. On Friday, December 18,
                                                                                           5   2015, the same day that Plaintiffs filed their objections/motions to strike, Plaintiffs’
                                                                                           6   counsel indicated by email that they intended to file “objections” to the declarations
                                                                                           7   of NJOY’s expert, Denise Martin. (Declaration of Paul L. Gale in Support of
                                                                                           8   NJOY’s Response to Plaintiffs’ Objections to the Declarations of Kent Van Liere
                                                                                           9   and Denise Martin (“Gale Decl.”), ¶ 2, Ex. A.) This was the first time that
                                                                                          10   Plaintiffs had stated they would be filing an objection or motion to strike Dr.
                                                                                          11   Martin’s declaration. Moreover, Plaintiffs’ correspondence did not relate to any
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                                                                                          12   meet and confer, or request a meet and confer, but instead merely asked whether
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                                                                                          13   NJOY believed particular deposition citations were confidential. In fact, Plaintiffs
                                                                                          14   had no intention of meeting and conferring, as the correspondence was sent to the
                                                                                          15   two NJOY attorneys who were attending an out of town deposition in this case on
                                                                                          16   the same day. Those same attorneys had been in another deposition in this case two
                                                                                          17   days earlier as well, and Plaintiffs never requested any meet and confer, or provided
                                                                                          18   any indication that they would be filing a motion to strike against NJOY’s experts.
                                                                                          19   (Id. at ¶ 2.)
                                                                                          20              Later that same day, but before anything was filed, NJOY’s counsel
                                                                                          21   responded to Plaintiffs’ counsel’s question as follows:
                                                                                          22                 Can you please let me know what you mean by “objection.” To
                                                                                          23                 the extent Plaintiffs are seeking to exclude Dr. Martin, or the
                                                                                          24                 opinions of Dr. Martin, any such “objection” is effectively a
                                                                                          25                 motion to strike/Daubert motion. Pursuant to Local Rule 7-3,
                                                                                          26                 Plaintiffs were required to meet and confer prior to the bringing the
                                                                                          27                 motion. Plaintiffs have never conducted such a conference, and
                                                                                          28                 the time to conduct such a conference passed last week. Moreover,
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                                                                                           1                 Plaintiffs insisted that NJOY conduct such a meeting prior to
                                                                                           2                 bringing its motion to strike Dr. Harris.
                                                                                           3   (Id., Ex. B.) Plaintiffs ignored NJOY’s email and filed their objection/motion to
                                                                                           4   strike without conferring with NJOY’s counsel. (Id. at ¶ 3.) As a result, the
                                                                                           5   required Local Rule 7-3 conference of counsel never took place. (Id.)
                                                                                           6              Further, Plaintiffs cannot be permitted to avoid the Local Rules by styling a
                                                                                           7   motion to strike as an “objection.” Plaintiffs’ “objection” is a Daubert
                                                                                           8   motion/motion to strike, regardless of the title affixed to it. In fact, the first
                                                                                           9   paragraph of the objection/motion to strike contains a recitation of the Daubert
                                                                                          10   standard, and the remainder of the objection/motion to strike focuses on Dr.
                                                                                          11   Martin’s alleged failure to meet that standard. Notably, Plaintiffs recently asserted
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                                                                                          12   that Local Rule 7-3 does indeed apply to Daubert motions, and insisted that NJOY
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                                                                                          13   conduct a lengthy Local Rule 7-3 conference prior to filing its motion to strike the
                                                                                          14   opinions of Plaintiffs’ expert, Dr. Jeffrey Harris. (Id., Ex. C.)
                                                                                          15              Plaintiffs’ objection/motion to strike is also procedurally improper, because
                                                                                          16   Plaintiffs failed to include a notice of motion, which among other items, requires a
                                                                                          17   concise statement of the relief or Court action the Plaintiffs seek and a statement
                                                                                          18   that the motion was brought following the conference of counsel pursuant to Local
                                                                                          19   Rule 7-3. L.R. 6-1, 7-3, 7-4.
                                                                                          20              The Local Rules exist for a reason. Because Plaintiffs’ counsel failed to meet
                                                                                          21   their obligations required by the Local Rules before filing their objection/motion to
                                                                                          22   strike, the objection/motion to strike should be stricken. See Attalla, 2015 U.S.
                                                                                          23   Dist. LEXIS 70018, at *2 (striking a motion because counsel failed to comply with
                                                                                          24   Local Rule 7-3); ABS Entm’t, Inc. v. Cumulus Media, Inc., 2015 U.S. Dist. LEXIS
                                                                                          25   164551, at *2-3 (C.D. Cal. Nov. 25, 2015) (striking motion for class certification
                                                                                          26   for failure to comply with Local Rule 7-3).
                                                                                          27
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                                                                                           1   3.         DR. MARTIN IS AN EXPERT ON BAYESIAN HEDONIC
                                                                                           2              REGRESSION AND HEDONIC REGRESSION ANALYSIS
                                                                                           3              Dr. Martin is well qualified to provide opinions regarding hedonic regression
                                                                                           4   analysis and what Dr. Harris describes as a “Bayesian hedonic regression.” Dr.
                                                                                           5   Martin is well-versed in each aspect of a Bayesian hedonic regression, as well as
                                                                                           6   the model as a whole. Hedonic regression and “Bayesian hedonic regression” are a
                                                                                           7   subset of general regression analysis and rely on the same statistical techniques.
                                                                                           8   (Declaration of Dr. Denise Martin in Response to Plaintiffs’ Objections to the
                                                                                           9   Martin Declaration (“Martin Responsive Decl.”), ¶ 8.) As explained in more detail
                                                                                          10   in the Martin Responsive Decl., regression analysis is a statistical tool that
                                                                                          11   estimates the relationship between a dependent (or explained) variable and one or
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                                                                                          12   more independent (or explanatory) variables. (Id. at ¶ 9.) In other words,
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                                                                                          13   regression analysis is a statistical tool that helps to explain what effect, if any,
                                                                                          14   certain independent variables (for example, the amount of time spent studying)
                                                                                          15   have on an outcome (such as grades) that is the dependent variable. (Id.)
                                                                                          16              Hedonic regression is simply a form of such regression analysis that uses
                                                                                          17   price as the dependent variable that is attempting to be explained. However, instead
                                                                                          18   of using hours spent studying to explain grades, product attributes are used as
                                                                                          19   independent variables in an attempt to explain price. (Id. at ¶ 10.) As explained in
                                                                                          20   more detail in Section 4 hrerein, hedonic regression can only be applied under strict
                                                                                          21   conditions where the market is stable and a company has no control over price –
                                                                                          22   conditions that are not present here.
                                                                                          23              As proposed in this context, the term “Bayesian” refers to a statistical model
                                                                                          24   in which the information considered in the regression analysis is supplemented with
                                                                                          25   some form of outside (or “prior”) information. That outside information can come
                                                                                          26   from a variety of sources. Dr. Harris proposes to use the results from a proposed
                                                                                          27   conjoint survey as the outside information for his hedonic regression, and he thus
                                                                                          28   coins his method as a “Bayesian hedonic regression.” (Id. at ¶ 11.)
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                                                                                           1              Dr. Martin earned a Ph.D. in Economics from Harvard University in 1991.
                                                                                           2   Dr. Martin was trained in regression analysis, including hedonic regression, as well
                                                                                           3   as in Bayesian methods, during her undergraduate education at Wellesley College
                                                                                           4   and her graduate education at Harvard University.1 (Id. at ¶ 12.)
                                                                                           5              Dr. Martin joined NERA Economic Consulting in 1991, and has been a
                                                                                           6   Senior Vice President at NERA since 2001. Since joining NERA, Dr. Martin has
                                                                                           7   used regression analysis in hundreds of projects on which she was retained.
                                                                                           8   Moreover, during that time, Dr. Martin has run regressions that incorporate
                                                                                           9   information from outside the regression data, which are considered to be
                                                                                          10   “Bayesian” regressions. (Id. at ¶ 13.) Accordingly, it is clear that Dr. Martin is
                                                                                          11   well qualified to opine on hedonic regression analysis and Bayesian hedonic
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                                                                                          12   classes.
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                                                                                          13              The dubious nature of Plaintiffs’ argument as to why Dr. Martin is not
                                                                                          14   qualified is made clear by the several nonsensical and irrelevant arguments
                                                                                          15   Plaintiffs make regarding Dr. Martin’s experience. For example, Plaintiffs argue
                                                                                          16
                                                                                          17              1
                                                                                                        While Plaintiffs attack Dr. Martin for her testimony that she did not take
                                                                                          18   any courses devoted solely to hedonic regression or Bayesian hedonic regression,
                                                                                               no such classes appear to exist. (Martin Responsive Decl., ¶ 12, n.19; see also,
                                                                                          19
                                                                                               Gale Decl., Ex. H (listing courses taught at Harvard, which does not include any
                                                                                          20   stand alone classes for hedonic regression or “Bayesian hedonic regression”).)
                                                                                               Because these methods are subsets, or applications, of broader regression analysis,
                                                                                          21
                                                                                               and because hedonic regression is only appropriate under a set of very stringent
                                                                                          22   conditions, the absence of entire courses devoted exclusively to these topics is not
                                                                                               at all surprising. Moreover, Plaintiffs failed to put in any evidence that their expert,
                                                                                          23
                                                                                               Dr. Harris, took such stand-alone classes, or that it is necessary to have taken such
                                                                                          24   hypothetical stand-alone classes. Similarly, Plaintiffs also attack Dr. Martin for not
                                                                                               knowing if there is a definitive text for Bayesian regression, even though they never
                                                                                          25
                                                                                               established that such a text even exists, or that the contents of the hypothetical text
                                                                                          26   somehow contradicts her opinions. In fact, Plaintiffs’ own expert, Dr. Harris, did
                                                                                          27   not testify regarding any definitive texts on the subject in either his declaration or
                                                                                               his deposition.
                                                                                          28
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                                                                                           1   that because Dr. Martin’s work has been focused more in the areas of “securities
                                                                                           2   litigation, product liability and mass torts valuation and labor economics,” she lacks
                                                                                           3   expertise in consumer fraud matters and is somehow unqualified to opine in this
                                                                                           4   matter. (Objection to the Declaration of Expert Denise Martin (“Obj.”), 4:7-22).
                                                                                           5   Whether Dr. Martin is, or is not, an expert in “consumer fraud cases” is irrelevant to
                                                                                           6   whether she is qualified to opine on Dr. Harris’ proposed regression damages
                                                                                           7   models. In any event, many of the cases in which Dr. Martin has been retained
                                                                                           8   involve consumer fraud issues. (Martin Responsive Decl., ¶ 14.) In addition, while
                                                                                           9   Plaintiffs rely on NERA’s website for their assertion that Dr. Martin has “focused
                                                                                          10   her work at NERA in three areas: securities litigation, product liability and mass
                                                                                          11   tort valuation, and labor economics,” Plaintiffs fail to inform the Court that
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                                                                                          12   NERA’s website classifies “Class Actions and Class Certification” as a practice
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                                                                                          13   consisting of antitrust, labor and employment, product liability, and securities, with
                                                                                          14   consumer class actions dealing with fraud and misrepresentation include as a subset
                                                                                          15   of product liability. Consumer class actions are considered a “focus area” for the
                                                                                          16   practice, and Dr. Martin is the designated practice chair at NERA for the class
                                                                                          17   action practice as a whole, as well as the focus area. (Id.)
                                                                                          18              Even more preposterous is Plaintiffs’ reliance on the fact that Dr. Martin has
                                                                                          19   mostly been retained by defendants in litigation. Whether Dr. Martin is retained by
                                                                                          20   plaintiffs or defendants is wholly unrelated to whether she is qualified to provide
                                                                                          21   her opinions in this matter. Plaintiffs’ position is also highly inappropriate given
                                                                                          22   that their expert, Dr. Harris, has only opined on behalf of plaintiffs during his
                                                                                          23   career. (See June 3, 2015 Deposition of Jeffrey Harris at 57:16-18, attached as Ex.
                                                                                          24   F to the Gale Decl.)
                                                                                          25              Plaintiffs also argue that Dr. Martin is not qualified because she estimated
                                                                                          26   that she has spent 10% of her time at NERA on consumer class actions. (Obj.,
                                                                                          27   4:16-17.) For the reasons set forth above, this argument is irrelevant to whether she
                                                                                          28   is qualified to opine on Dr. Harris’s proposed regression models. Further,
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                                                                                           1   Plaintiffs’ argument lacks merit for several additional reasons. First, Dr. Martin’s
                                                                                           2   education, including her graduate level studies in regression analysis, statistics,
                                                                                           3   Bayesian methods, and hedonic regression, give her a basis to render the opinions
                                                                                           4   regarding why Dr. Harris’s proposed Bayesian hedonic regression is not
                                                                                           5   appropriate. Second, Dr. Martin’s career spans nearly 25 years, so 10% of such a
                                                                                           6   long career gives her substantial practical expertise in such cases. (Martin
                                                                                           7   Responsive Decl., ¶ 15(a).) Dr. Martin’s experience includes, among other things,
                                                                                           8   two reports in consumer class action matters in which plaintiffs’ expert proposed
                                                                                           9   using hedonic regression. (Id. at ¶ 15(b).)
                                                                                          10              Finally, Dr. Martin has served as a consulting and testifying expert in more
                                                                                          11   than 100 other class action matters (including securities class actions and
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                                                                                          12   employment class actions), which has provided her with tremendous practical
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                                                                                          13   experience in addressing economic questions similar to those present in this case.
                                                                                          14   While the contexts for these matters may have differed, the assignment in each of
                                                                                          15   those cases often has been the same: to estimate damages, if possible, using the
                                                                                          16   difference between the price paid and the price that would have been paid absent
                                                                                          17   certain alleged wrongdoing. For example, in dozens of securities class actions, Dr.
                                                                                          18   Martin has performed regression analyses to estimate the price investors would
                                                                                          19   have paid for a security absent any alleged misstatements or omissions by a
                                                                                          20   defendant, controlling for market and industry factors, which required that she first
                                                                                          21   analyze whether the market conditions existed for her to apply the regression
                                                                                          22   analysis.2 (Id. at ¶ 15(c).)
                                                                                          23
                                                                                                          2
                                                                                          24          See, e.g., “Affidavit, in Marvin Neil Silver and Cliff Cohen vs. IMAX
                                                                                               Corporation, et al., Ontario Superior Court of Justice, 2012”; “Rebuttal Report and
                                                                                          25
                                                                                               Declaration, in the United States District Court, District of Puerto Rico, in Samuel
                                                                                          26   Hildenbrand, et al. vs. W Holding Company, Inc., et al., 2012”; “Deposition and
                                                                                          27   Reports in the United States District Court, District of New Jersey, In Re: Schering-
                                                                                               Plough Corporation/ENHANCE Securities Litigation, 2011”; and “Deposition and
                                                                                          28   Reports in the United States District Court, District of New Jersey, In Re: Merck &
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                                                                                           1   4.         PLAINTIFFS HAVE FAILED TO SHOW THAT ANY ASPECT OF
                                                                                           2              DR. MARTIN’S DECLARATION IS ERRONEOUS OR
                                                                                           3              UNRELIABLE
                                                                                           4              Plaintiffs’ objection/motion to strike suffers from another glaring defect –
                                                                                           5   Plaintiffs failed to provide any evidence to show that the opinions and generally
                                                                                           6   accepted principles Dr. Martin sets forth in her declaration are incorrect. Dr.
                                                                                           7   Martin has testified regarding generally accepted principals for hedonic regression,
                                                                                           8   and made clear that it is generally accepted that use of hedonic regression is only
                                                                                           9   appropriate when certain quite stringent conditions apply.
                                                                                          10              In particular, to be able to interpret the coefficients on the product attributes
                                                                                          11   as implicit prices for those attributes, and to further conclude that the price of the
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                                                                                          12   product without the attribute would be the actual price less the estimated implicit
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                                                                                          13   price for the attribute, the analyst must have reason to assume that market is stable
                                                                                          14   and that both firms (sellers) and consumers are “price takers.” Firms and
                                                                                          15   consumers that are price takers believe that they do not have control over price and
                                                                                          16   must accept the price as set by the market. That is, firms are able to sell their
                                                                                          17   product at the established market price, but would be unable to do so if they raised
                                                                                          18   price and have no incentive to lower price. Price-taking consumers similarly are
                                                                                          19   able to buy products at the established market price, but do not have sufficient
                                                                                          20   purchasing power in the market to be able to pay less for a product than the market
                                                                                          21   price. (Martin Responsive Decl., ¶ 10 n.17). If the market is not sufficiently stable
                                                                                          22   or mature (e.g., if the product in question was introduced recently, so that firms are
                                                                                          23   still entering and exiting and new product variations are still being introduced),
                                                                                          24   market-clearing prices will be in flux so that hedonic regression cannot reliably
                                                                                          25   measure the implicit price associated with any particular product attribute. (Id.)
                                                                                          26
                                                                                          27   Co., Inc., Vytorin/Zetia Securities Litigation, 2011,” all of which are included in
                                                                                               Exhibit 1 to Martin Responsive Decl.
                                                                                          28
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                                                                                           1   Dr. Harris acknowledges this point in his Reply Declaration. (Harris Reply Decl.,
                                                                                           2   Dkt. 168, ¶ 33.) If these conditions do not hold, which they do not for the e-
                                                                                           3   cigarette market, then the link between the price of the product and the implicit
                                                                                           4   prices of the underlying product attributes is severed and hedonic regression will
                                                                                           5   fail and be unable to be used to measure any implicit equilibrium price of the
                                                                                           6   attribute. The same market conditions must hold for Bayesian hedonic regression
                                                                                           7   to be applied as they are for standard hedonic regression. (Id. at ¶ 10.)
                                                                                           8              Plaintiffs do not put forward any evidence, and do not dispute, these
                                                                                           9   generally accepted principles. Clearly, if Dr. Martin was incorrect regarding these
                                                                                          10   requirements, Plaintiffs could have cited to some authority on that point. Instead,
                                                                                          11   Plaintiffs fail to point to anything in Dr. Martin’s declaration or testimony that is
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                                                                                          12   incorrect, and Plaintiffs fail to put forward any evidence to rebut any of Dr.
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                                                                                          13   Martin’s opinions or her discussion of general accepted principles.
                                                                                          14   5.         HEDONIC REGRESSION AND BAYESIAN HEDONIC
                                                                                          15              REGRESSION ARE SELDOM, IF EVER, USED IN CLASS ACTION
                                                                                          16              LITIGATION BECAUSE OF THEIR STRICT REQUIREMENTS
                                                                                          17              Plaintiffs also attack Dr. Martin for not having rebutted or conducted a
                                                                                          18   Bayesian hedonic regression for litigation.3 Significantly, a Lexis search for a
                                                                                          19   proposed damages model labeled as Bayesian hedonic regression, in all cases, state
                                                                                          20   and federal, yields zero results. (Gale Decl., ¶ 9.)4, Moreover, Plaintiffs have not
                                                                                          21              3
                                                                                                        Dr. Martin’s experience does include submitting two reports in consumer
                                                                                          22   class action matters in which plaintiffs’ expert proposed using hedonic regression.
                                                                                          23   (Responsive Martin Decl., ¶ 15(b).) Moreover, “[w]here a witness has considerable
                                                                                               expertise working in a specific field, the witness’s ‘lack of particularized
                                                                                          24   experience’ in one aspect of that field, ‘goes to the weight accorded her testimony,
                                                                                          25   not to the admissibility of her opinion as an expert.’” Chelan County Washington v.
                                                                                               Bank of Am. Corp., 2015 U.S. Dist. LEXIS 89414, at *21 (E.D. Wa. July 9, 2015)
                                                                                          26   (quoting United States v. Garcia, 7 F.3d 885, 889 (9th Cir. 1993)).
                                                                                          27              4
                                                                                                      The application of hedonic models (whether classical or Bayesian) occurs
                                                                                          28   most often in the study of the real estate market, because the housing supply in the
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                                                                                           1   shown their expert, Dr. Harris, has ever submitted or conducted a Bayesian hedonic
                                                                                           2   regression for litigation previously.
                                                                                           3   6.         DR. MARTIN IS NOT PROVIDING ANY OPINIONS REGARDING
                                                                                           4              THE DESIGN OR IMPLEMENTATION OF CONJOINT ANALYSIS
                                                                                           5              OR THE DIRECT METHOD, AND DOES NOT NEED TO BE AN
                                                                                           6              EXPERT IN THOSE SURVEY METHODS TO RENDER HER
                                                                                           7              OPINIONS REGARDING BAYESIAN HEDONIC REGRESSION
                                                                                           8              Plaintiffs assert that Dr. Martin is not an expert with respect to conjoint
                                                                                           9   analysis or the direct method. However, Plaintiffs’ objection should be disregarded
                                                                                          10   because it is a strawman, as Dr. Martin is not opining on the design or
                                                                                          11   implementation of conjoint analysis or the direct method. As Dr. Martin makes
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                                                                                          12   clear in her declaration, she “was asked to evaluate whether the Bayesian hedonic
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                                                                                          13   regression analysis proposed by Dr. Harris could be used in this matter to estimate
                                                                                          14   the difference between the price paid by NJOY consumers and the price they would
                                                                                          15   have paid absent the alleged misstatements and omissions regard the safety of
                                                                                          16   NJOY e-cigarettes.” (Declaration of Denise Martin (“First Martin Decl.”), Dkt.
                                                                                          17   263, ¶ 2, excerpts of which are attached as Ex. I to the Gale Decl.) As discussed in
                                                                                          18   Section 3 above, Dr. Martin is unquestionably qualified regarding regression
                                                                                          19   analysis and Bayesian methods to provide her opinions of whether the Bayesian
                                                                                          20   hedonic regression analysis Dr. Harris proposes could be used to measure damages
                                                                                          21   in this matter.
                                                                                          22
                                                                                               short-run can be considered fixed and because individual homeowners act as price
                                                                                          23
                                                                                               takers who do not typically believe they can affect the equilibrium prices of houses
                                                                                          24   in the market. (Martin Responsive Decl., ¶ 11, n.21.) At a very macro level, the
                                                                                               damages model approved in In re ConAgra Foods, Inc., 90 F. Supp. 3d 919 (C.D.
                                                                                          25
                                                                                               Cal. 2015) (“Conagra II”) could be considered to be a form of a Bayesian hedonic
                                                                                          26   regression, because it brings outside information into a hedonic regression.
                                                                                          27   However, as discussed in NJOY’s Motion to Strike the Supplemental Declaration
                                                                                               of Jeffrey E. Harris (Dkt. 255-1) (Gale Decl., Ex. J), the model proposed in
                                                                                          28   Conagra II is markedly different in many respects.
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                                                                                           1              To reiterate, a Bayesian hedonic regression uses outside information about
                                                                                           2   the value of an attribute in the regression, and that outside information could come
                                                                                           3   from a variety of sources. In order to evaluate whether the Bayesian hedonic
                                                                                           4   regression is applicable, Dr. Martin does not need to be an expert in how that
                                                                                           5   particular data was obtained. This is why Dr. Martin opines that Dr. Harris’s
                                                                                           6   proposed Bayesian hedonic model will not work, even if Dr. Harris’s conjoint
                                                                                           7   analysis could be performed and would be reliable. Moreover, Dr. Martin does not
                                                                                           8   need to an expert in the outside data source (i.e., the conjoint survey) to opine that
                                                                                           9   the information from that data source cannot be properly incorporated into the
                                                                                          10   regression analysis. For example, Dr. Martin opines that Dr. Harris’s proposal to
                                                                                          11   use a conjoint survey as outside information for the regression is problematic here,
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                                                                                          12   because a hedonic regression looks at the marginal consumer, while a conjoint
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                                                                                          13   study looks at the average consumer. (Gale Decl., Ex. I, First Martin Decl., Dkt.
                                                                                          14   263, ¶¶ 33-38.)
                                                                                          15              Dr. Martin is not opining on whether a conjoint study looks at the average
                                                                                          16   consumer, and instead, is relying on Dr. Van Liere’s opinion (as well as the fact
                                                                                          17   that it is a generally accepted principle in that field), for her assumption that the
                                                                                          18   source of the outside information being incorporated into the regression is for the
                                                                                          19   average consumer. If that assumption, which is undisputed, is correct, Dr. Martin’s
                                                                                          20   expertise in regression analysis provides her with a sufficient basis to opine that the
                                                                                          21   use of such data is problematic. (See Section 7.2, infra, for a further discussion
                                                                                          22   regarding the propriety of Dr. Martin relying on Dr. Van Liere.)
                                                                                          23              In total, Dr. Martin relies on Dr. Van Liere for three assumptions, all of
                                                                                          24   which are undisputed. The first assumption is that a conjoint analysis analyzes the
                                                                                          25   average consumer. The second assumption is that the valuations derived from a
                                                                                          26   conjoint analysis will be contemporaneous (whereas historical purchase prices are a
                                                                                          27   key input into a Bayesian hedonic regression). (First Martin Decl., ¶ 5(a).) The
                                                                                          28   third assumption is that the information derived from Dr. Harris’s proposed model
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                                                                                           1   is unreliable (and unreliable data cannot be used to remedy the issues present in a
                                                                                           2   Bayesian hedonic regression). (Id., ¶ 5(c).)
                                                                                           3              Ironically, if Plaintiffs’ position were correct ‒ that Dr. Martin could not
                                                                                           4   testify regarding Bayesian hedonic regression because she is not an expert in
                                                                                           5   conjoint analysis ‒ then Dr. Harris similarly would have to be excluded for that
                                                                                           6   reason alone, because he has admitted that he is not a survey expert and would be
                                                                                           7   relying on others to design and implement the conjoint survey.
                                                                                           8   7.         DR. MARTIN DOES NOT IMPERMISSIBLY RELY ON THE
                                                                                           9              OPINIONS OF DR. KENT VAN LIERE
                                                                                          10              Plaintiffs assert that Dr. Martin cannot offer an opinion on how contingent
                                                                                          11   valuation fits into Dr. Harris’s proposed Bayesian hedonic regression analysis,
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                                                                                          12   because Dr. Martin impermissibly relies on the expert report of Dr. Kent Van Liere
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                                                                                          13   for that opinion. (Obj., 5:21-23.) This argument fails for three reasons. First, Dr.
                                                                                          14   Martin’s opinion that Bayesian hedonic regression cannot generate an estimate of
                                                                                          15   damages in this case is independent of Dr. Van Liere’s testimony, a fact that
                                                                                          16   Plaintiffs fail to address or acknowledge. Second, Dr. Martin is simply relying on
                                                                                          17   Dr. Van Liere’s opinions regarding conjoint analysis as an input into her more
                                                                                          18   complete analysis – she is not, as Plaintiffs suggest, simply parroting Dr. Van
                                                                                          19   Liere’s opinion, or holding out the opinions regarding conjoint analysis as her own.
                                                                                          20   Third, the cases on which Plaintiffs rely in support of their assertion that
                                                                                          21   “piggybacking” is impermissible, are factually distinguishable from Dr. Martin’s
                                                                                          22   conduct, and are simply inapplicable.
                                                                                          23              7.1   Dr. Martin’s Opinion That Bayesian Hedonic Regression Cannot
                                                                                          24                    Generate an Estimate of Damages in This Case Is Independent of
                                                                                          25                    Dr. Van Liere’s Testimony
                                                                                          26              Plaintiffs’ Objection makes no reference to Dr. Martin’s conclusion that Dr.
                                                                                          27   Harris’s Bayesian hedonic regression will not and cannot generate an estimate of
                                                                                          28   damages as defined by this Court (i.e., the difference between the price paid and the
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                                                                                           1   price that would have been paid absent the alleged misstatements and omissions).
                                                                                           2   (Martin Responsive Decl., ¶ 19.) That conclusion is completely independent of Dr.
                                                                                           3   Van Liere’s opinions and testimony, rendering false Plaintiffs’ assertion that “most
                                                                                           4   of Martin’s opinions are, in fact, based on Van Liere’s conclusions.” (Obj., 9:22-
                                                                                           5   24.) Dr. Martin reaches this conclusion for two reasons. First, because of the
                                                                                           6   immature and unstable market conditions, Dr. Harris’s method cannot yield a price
                                                                                           7   premium for any attribute, including the alleged “safety claim,” a point that Dr.
                                                                                           8   Harris admits. (Reply Declaration of Dr. Jeffrey Harris in Support of Plaintiffs’
                                                                                           9   Motion for Class Certification (“Harris Reply Decl.”), Dkt. 149-1, ¶¶ 29, 33,
                                                                                          10   excerpts of which are attached as Ex. K to the Gale Decl.) Even in his declaration
                                                                                          11   filed in support of Plaintiffs’ amended motion for class certification (Dkt. 249-1),
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                                                                                          12   Dr. Harris does not claim that he could use the results from conjoint analysis or
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                                                                                          13   direct survey to address this fundamental problem. Second, as Dr. Harris
                                                                                          14   acknowledged in his deposition, Bayesian hedonic regression is not designed to
                                                                                          15   generate a “but for” price where market conditions would change. (Harris October
                                                                                          16   26, 2015 deposition (“Harris Second Dep.”) at 131:9-16 and attached as Ex. E to
                                                                                          17   Gale Decl.; see also, Harris Reply Decl., Dkt. 149-1, ¶¶ 29, 33.) Accordingly, there
                                                                                          18   is no basis for Plaintiffs’ assertion that Dr. Martin’s opinion should be stricken
                                                                                          19   because she impermissibly relies on the opinions of Dr. Van Liere. (Martin
                                                                                          20   Responsive Decl., ¶ 19.)
                                                                                          21              7.2   Dr. Martin Uses Dr. Van Liere’s Opinion to Highlight the Failures
                                                                                          22                    of Dr. Harris’s Proposed Regression Analysis
                                                                                          23              While Dr. Martin relies on Dr. Van Liere’s opinions for issues relating to the
                                                                                          24   design and implementation of conjoint surveys, Dr. Martin is not reiterating those
                                                                                          25   opinions as her own. Further, Plaintiffs mischaracterize and overstate Dr. Martin’s
                                                                                          26   reliance regarding those limited issues.
                                                                                          27              First, while Dr. Martin is not offering an opinion regarding Dr. Harris’s
                                                                                          28   conjoint analysis and direct surveys, she has knowledge and experience regarding
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                                                                                           1   those techniques and knows exactly how they are used in a Bayesian hedonic
                                                                                           2   regression. (Martin Responsive Decl., ¶ 24.)
                                                                                           3              Second, Dr. Martin relies on Dr. Van Liere only to highlight the unreliability
                                                                                           4   of the conjoint analysis and direct survey methods, and the effect of that
                                                                                           5   unreliability on Dr. Harris’s proposed regression. Dr. Harris conceded that the
                                                                                           6   hedonic regression analysis he proposes “may suffer from important limitations,”
                                                                                           7   including collinearity, omitted variable bias, and misspecification. (Supplemental
                                                                                           8   Declaration of Jeffrey E. Harris in Support of Plaintiffs’ Motion for Class
                                                                                           9   Certification (“Harris Supp. Decl.”), Dkt. 249-1, ¶¶ 20-37, excerpts of which are
                                                                                          10   attached as Ex. L to the Gale Decl.)5 Dr. Harris claims that using the results of his
                                                                                          11   proposed conjoint analysis and direct survey as an input or “priors” to his hedonic
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                                                                                          12   regression will allow him to mitigate the limitations he identified. (Gale Decl, Ex.
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                                                                                          13   L, Harris Supp. Decl., Dkt. 249-1, at ¶¶ 33-36; Gale Decl, Ex. E, Harris Second
                                                                                          14   Dep. at 26:5-27:10.) Dr. Martin relies on Dr. Van Liere for the generally accepted
                                                                                          15   principles applicable to such surveys and to show the unreliability of the proposed
                                                                                          16   outside information (gleaned from the conjoint analysis and direct survey), which
                                                                                          17   she then uses to show additional reasons why Dr. Harris’s proposed regression
                                                                                          18   analysis fails. (Martin Responsive Decl., ¶ 5.) In particular, Dr. Martin concludes
                                                                                          19   that Dr. Harris will be unable to resolve problems of collinearity in his hedonic
                                                                                          20   regression, because he will have no way to tether his conjoint results back to his
                                                                                          21   regression. Dr. Martin also concludes that Dr. Harris will be unable to resolve the
                                                                                          22   problems of collinearity, omitted variable bias, and misclassification in his hedonic
                                                                                          23   regression by bringing in unreliable estimates of the associated variables from a
                                                                                          24   conjoint analysis or direct survey. (Id. at ¶ 18.)
                                                                                          25
                                                                                                          5
                                                                                          26          As discussed in NJOY’s Motion to Strike Dr. Harris’s Supplemental
                                                                                          27   Declaration, Dr. Harris previously testified that a hedonic regression could not be
                                                                                               performed with regard to e-cigarettes. (See Dkt. 255-1 at Section 4.2, excerpts of
                                                                                          28   which are attached as Ex. J to the Gale Decl.)
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                                                                                           1              It is customary for experts to rely on the opinions of other experts in
                                                                                           2   formulating expert testimony and opinions. Every time an expert cites to an
                                                                                           3   accepted treatise, that expert is explicitly relying on the work or conclusions
                                                                                           4   reached by someone else. (Id. at ¶ 17.) Indeed, Dr. Harris’s opinion is replete with
                                                                                           5   citations to the work and conclusions of others. Here, Dr. Martin is relying on
                                                                                           6   Dr. Van Liere – who has an M.A. and Ph.D. in Sociology and has been qualified as
                                                                                           7   an expert on conjoint analysis and direct surveys many times – with respect to
                                                                                           8   certain flaws in Dr. Harris’s proposed conjoint analysis. (Id.)
                                                                                           9              Further, contrary to Plaintiffs’ assertions, Dr. Martin is not reiterating Dr.
                                                                                          10   Van Liere’s report. Instead, she is relying on Dr. Van Liere’s conclusion that Dr.
                                                                                          11   Harris’s conjoint survey is flawed as one part of her analysis of Dr. Harris’s
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                                                                                          12   proposed Bayesian hedonic regression. In other words, she is using Dr. Van Liere’s
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                                                                                          13   conclusions and then building on them to reach her own, independent
                                                                                          14   conclusions. That reliance is permissible and does not render her report
                                                                                          15   inadmissible. See In re Toyota Motor Corp. Unintended Acceleration Mktg. Sales
                                                                                          16   Practices & Prods. Liab. Litig., 978 F. Supp. 2d 1053, 1078-79, 1082 (C.D. Cal.
                                                                                          17   2013) (holding that one expert may rely on the opinions of another admissible
                                                                                          18   expert to build on her testimony). Further, to the extent there are any questions
                                                                                          19   regarding the validity of Dr. Martin’s reliance, those questions go to the weight of
                                                                                          20   her testimony, not its admissibility. See Hynix Semiconductor Inc. v. Rambus Inc.,
                                                                                          21   2008 U.S. Dist. LEXIS 123822, at *47 (N.D. Cal. Jan. 5, 2008) (holding that
                                                                                          22   argument regarding the viability of assumptions based on another expert’s report go
                                                                                          23   to weight, not admissibility); see also Toyota, 978 F. Supp. 2d at 1072 n.20 (“Any
                                                                                          24   assumptions made by [the expert] may be challenged in cross-examination, as they
                                                                                          25   affect weight, not admissibility.”).
                                                                                          26
                                                                                          27
                                                                                          28
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                                                                                           1              Accordingly, there is nothing impermissible about Dr. Martin’s reliance on
                                                                                           2   Dr. Van Liere’s conclusions here.6
                                                                                           3              7.3   The Cases on Which Plaintiffs Rely Are Factually Distinguishable
                                                                                           4              Finally, the cases on which Plaintiffs rely in support of their assertion that
                                                                                           5   “piggybacking” is impermissible are factually distinguishable from the present case
                                                                                           6   involving Dr. Martin. Each of those cases deals with an expert who is attempting to
                                                                                           7   put forward the opinion of a non-testifying expert as his or her own opinion, or
                                                                                           8   where an expert relies on inadmissible opinions. See In re Conagra Foods, Inc., 90
                                                                                           9   F. Supp. 3d at 950 (finding the proffered expert’s testimony regarding what various
                                                                                          10   surveys meant was inadmissible, because the expert relied on surveys conducted by
                                                                                          11   other experts not before the court); J.B. Hunt Transp., Inc., v. General Motors
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                                                                                          12   Corp., 243 F.3d 441, 444 (8th Cir. 2001) (finding the proffered expert’s testimony
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                                                                                          13   inadmissible because its relevance solely depended on the inadmissible testimony
                                                                                          14   of another testifying expert); Dura Auto. Sys. of Ind., Inc. v. CTS Corp., 285 F.3d
                                                                                          15   609, 615 (7th Cir. 2002) (concluding that the sole testifying expert’s testimony
                                                                                          16   “would have rested on air” without the testimony of other experts relied upon in the
                                                                                          17
                                                                                                          6
                                                                                          18             Furthermore, one expert’s reliance on another does not render that expert’s
                                                                                               testimony inadmissible. Instead, “[e]xpert opinions may find a basis in part ‘on
                                                                                          19
                                                                                               what a different expert believes on the basis of expert knowledge not possessed by
                                                                                          20   the first expert.’ Indeed, this is common in technical fields.” Toyota, 978 F. Supp.
                                                                                               2d at 1066 (quoting Dura Auto. Sys. of Ind., Inc. v. CTS Corp., 285 F.3d 609, 613
                                                                                          21
                                                                                               (7th Cir. 2002)). “For example, a physician may rely for a diagnosis on an x-ray
                                                                                          22   taken by a radiologist, even though the physician is not an expert in
                                                                                               radiology.” Id. The Toyota court admitted the testimony of several experts whose
                                                                                          23
                                                                                               opinions were based, in part, on other experts’ reports. See Toyota, 978 F. Supp. 2d
                                                                                          24   at 1082 (finding that, because one expert’s testimony on a point was admissible, a
                                                                                               second expert may rely on that testimony “to the extent his opinions build on [the
                                                                                          25
                                                                                               first expert’s] testimony”); id. at 1078-79 (same). The court in Hynix reached a
                                                                                          26   similar conclusion. There, the court held that an expert may properly rely on
                                                                                          27   assumptions that are based on other expert reports, and arguments regarding the
                                                                                               viability of those assumptions go to the weight of the testimony, not its
                                                                                          28   validity. 2008 U.S. Dist. LEXIS 123822, at *46-47.
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                                                                                           1   expert’s report. Since those other experts were not before the court, the court
                                                                                           2   excluded the testimony); In re TMI Litig., 193 F.3d 613, 716 (3d. Cir. 1999)
                                                                                           3   (affirming the district court’s exclusion of an expert’s testimony that heavily
                                                                                           4   depended on the inadmissible conclusions of other testifying experts); Paramount
                                                                                           5   Media Group, Inc. v. Vill. of Bellwood, 308 F.R.D. 162, 165 (N.D. Ill. 2015)
                                                                                           6   (excluding the testimony of Plaintiff’s expert because he simply collected numbers
                                                                                           7   from various sources, handed them off to a non-testifying expert to conduct various
                                                                                           8   calculations, and then presented the conclusions as his own). That is simply not the
                                                                                           9   case here, as Dr. Martin does not attempt to parrot the opinions of any non-
                                                                                          10   testifying experts, and does not hold out the opinions of any other experts as her
                                                                                          11   own.
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                                                                                          12              In reality, these cases apply to Plaintiffs’ expert, Dr. Harris, who is actually
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                                                                                          13   doing the exact thing Plaintiffs wrongly accuse NJOY’s experts of doing. For
                                                                                          14   example, Dr. Harris, who admits he is not a survey expert, opines on survey
                                                                                          15   methodology and survey design based on his understanding from other non-
                                                                                          16   testifying experts who are not before the Court. (Gale Decl., Harris Second Dep.,
                                                                                          17   32:8-22.) NJOY and the Court are unable to examine those experts’ credentials,
                                                                                          18   unable to analyze their purported opinions, and unable to question them. On the
                                                                                          19   other hand, NJOY has proffered two experts to opine on fields in which each is an
                                                                                          20   expert (survey methodology for Dr. Van Liere, and Bayesian and hedonic
                                                                                          21   regression analyses for Dr. Martin). Each is only opining in his or her field of
                                                                                          22   expertise. Moreover, both of NJOY’s experts have submitted extensive
                                                                                          23   declarations and both have been deposed.
                                                                                          24   8.         NEITHER NJOY NOR DR. MARTIN BEAR THE BURDEN TO SET
                                                                                          25              FORTH EVIDENCE REBUTTING DR. HARRIS’S OPINIONS
                                                                                          26              Plaintiffs object to the opinions expressed in the Martin Declaration because
                                                                                          27   they “lack foundation” and “are not based on any supporting data or facts.” (Obj.,
                                                                                          28   12:3-5.) Plaintiffs then assert that Dr. Martin’s conclusions lack “a single piece of
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                                                                                           1   supporting evidence” (Obj., 12:6-7). These arguments demonstrate Plaintiffs’
                                                                                           2   misapprehension of the burden for rebuttal experts and misstates the record. Dr.
                                                                                           3   Harris was offered by Plaintiffs as their expert to attempt to satisfy Plaintiffs’
                                                                                           4   burden on their amended motion for class certification. By contrast, NJOY proffers
                                                                                           5   Dr. Martin solely as a rebuttal expert, and “[t]he function of rebuttal testimony is to
                                                                                           6   explain, repel, counteract or disprove evidence of the adverse party.” Clear-View
                                                                                           7   Techs., Inc. v. Rasnick, 2015 U.S. Dist. LEXIS 72601, at *4 (N.D. Cal. June 3,
                                                                                           8   2015) (citation omitted). As a rebuttal expert, Dr. Martin is not required to put
                                                                                           9   forth evidence to affirmatively disprove each of Dr. Harris’s opinions. Id. at *5
                                                                                          10   (“Although a defendant need not put forth expert opinions to challenge affirmative
                                                                                          11   theories on which the plaintiff bears the burden of proof, such as damages, a
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                                                                                          12   defendant’s rebuttal expert is limited to offering opinions rebutting and refuting the
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                                                                                          13   theories set forth by plaintiff’s expert(s).”). Here, Dr. Martin is not required to
                                                                                          14   affirmatively disprove Dr. Harris’s unsupported conclusions; instead, as a rebuttal
                                                                                          15   expert, Dr. Martin’s sole job is to identify the fundamental flaws in Dr. Harris’s
                                                                                          16   opinions, which she has done.
                                                                                          17              Furthermore, NJOY responds to each of the enumerated conclusions in
                                                                                          18   Section IV of the Objection as follows:
                                                                                          19              1.    As set forth in great detail in Section 3 herein, Dr. Martin is eminently
                                                                                          20   qualified as an expert in Bayesian hedonic regression analysis and hedonic
                                                                                          21   regression analysis. Accordingly, her opinion that Bayesian hedonic regression
                                                                                          22   analysis “is not designed to provide an estimate of how supply or demand would
                                                                                          23   change in response to changes in the composition of product attributes available in
                                                                                          24   the market” is supported and appropriate. Moreover, in support of her opinion, Dr.
                                                                                          25   Martin referenced: coursework taken at Wellesley and Harvard that included
                                                                                          26   hedonic regression and Bayesian methods; Dr. Martin’s own work at NERA with
                                                                                          27   regression analysis, including Bayesian regression, wage regressions, and stock
                                                                                          28   price regressions; the seminal article on hedonic regression, authored by Sherwin
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                                                                                           1   Rosen in 1974, which has been cited in thousands of articles since; an accepted
                                                                                           2   textbook on econometric methods that includes a detailed review of hedonic
                                                                                           3   regression; a chapter on Bayesian methods written by Dr. Kenneth Train, adjunct
                                                                                           4   professor at U.C. Berkeley; and the testimony of Plaintiffs’ expert, Dr. Harris, who
                                                                                           5   agrees Bayesian hedonic analysis is not a tool that can estimate how demand and
                                                                                           6   supply would have changed absent the alleged misstatements and omissions and
                                                                                           7   that his approach will not yield a “but-for” price. (Martin Responsive Decl., ¶ 21.)
                                                                                           8              2.   Again, for the same reasons discussed in the preceding paragraph, Dr.
                                                                                           9   Martin is qualified to state that hedonic regression fails because it cannot account
                                                                                          10   for supply and demand decisions, and provides references to support her opinions.7
                                                                                          11   Moreover, pursuant to the standard for rebuttal experts set forth in Clear View, Dr.
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                                                                                          12   Martin is not required to affirmatively disprove Dr. Harris’s opinions; instead, she
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                                                                                          13   is identifying material flaws. Further, as Dr. Martin noted, this point is conceded
                                                                                          14   by Plaintiffs’ own expert, Dr. Harris. Lastly, Plaintiffs’ argument that an article
                                                                                          15   relied on by their own expert from 1974, is clearly improper (and illogical).
                                                                                          16              3.   The credibility of the percipient witnesses on which Dr. Martin relies
                                                                                          17   is purely a question regarding the weight of Dr. Martin’s testimony; it has nothing
                                                                                          18   to do with her qualifications and whether she meets the standard set forth in
                                                                                          19   Daubert. Further, Plaintiffs have not put forward any evidence to demonstrate that
                                                                                          20   the witnesses were “interested,” or that the only information in the record on these
                                                                                          21   issues is incorrect. In addition, Dr. Martin only relied on certain facts provided by
                                                                                          22   the witnesses’ testimony as an input to her analysis, and not as the sole basis for her
                                                                                          23   conclusions. (Id. at ¶ 22.) Dr. Harris acknowledges that his conjoint analysis and
                                                                                          24   direct survey will yield, at best, current estimates of the willingness to pay for the
                                                                                          25   alleged “safety claim,” and the only testimony in the record is that the market was
                                                                                          26
                                                                                          27              7
                                                                                                      While Plaintiffs cite to Paragraph 10 from Dr. Martin’s declaration, the
                                                                                          28   quoted phrase is not found in that paragraph.
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                                                                                           1   changing over the alleged class period as there was entry and exit of manufacturers,
                                                                                           2   changes in product attributes, and changes in the mix of information available in the
                                                                                           3   market regarding e-cigarettes. There is no requirement that Dr. Martin conduct
                                                                                           4   independent research to confirm facts in the record. Lastly, it is common practice
                                                                                           5   for experts to rely on facts or assumptions when providing their expert opinions.
                                                                                           6              4.    Again, pursuant to the standard set forth in Clear View for rebuttal
                                                                                           7   experts, Dr. Martin is not required to put forth evidence disproving Dr. Harris’s
                                                                                           8   opinions. Instead, she has simply identified – based on her extensive experience – a
                                                                                           9   flaw that will preclude Dr. Harris from constructing his proposed damages model.
                                                                                          10   Even though nothing more is required, Dr. Martin cited to prior litigation where
                                                                                          11   experts were unable to obtain such data, and Dr. Martin testified that NERA
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                                                                                          12   reached out to the organizations at issue in an attempt to get the required data, but
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                                                                                          13   were rebuffed, because those organizations do not provide data for litigation
                                                                                          14   purposes. Lastly, it is Dr. Martin’s opinion that even if Dr. Harris is able to obtain
                                                                                          15   data from an outside agency, such new information will not yield historical data for
                                                                                          16   Dr. Harris’s proposed conjoint analysis – thus making his proposed model
                                                                                          17   unreliable. (Id. at ¶ 23.)
                                                                                          18              5.    As discussed in Section 3, Dr. Martin is well qualified to provide her
                                                                                          19   opinions that Dr. Harris’s proposed Bayesian hedonic model will not yield the
                                                                                          20   proper method of damages, is unreliable, and cannot be performed under generally
                                                                                          21   accepted principles. As an expert in regression analysis, Dr. Martin is qualified to
                                                                                          22   opine that one cannot use outside information from a source dealing with average
                                                                                          23   consumers to a regression that is using a dataset for marginal consumers, and that
                                                                                          24   the results of a conjoint analysis cannot be tethered to market price via inclusion in
                                                                                          25   hedonic regression.
                                                                                          26   9.         CONCLUSION
                                                                                          27              For the reasons set forth herein, Plaintiffs Objection/Motion to Strike should
                                                                                          28   be overruled/denied.
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                                                                                           1   Dated: January 8, 2016                      Respectfully submitted,
                                                                                           2                                               TROUTMAN SANDERS LLP
                                                                                           3
                                                                                           4                                               By: /s/ Paul L. Gale
                                                                                                                                             Paul L. Gale
                                                                                           5
                                                                                                                                                Attorneys for Defendants
                                                                                           6                                                    NJOY, Inc. and SOTERRA, INC.
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